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                                                                                   2019 Sep-30 AM 11:41
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

COLBY HOOPER,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )     CIVIL ACTION NUMBER:
                                         )     JURY TRIAL DEMANDED
MIDLAND FUNDING, LLC;                    )
MIDLAND CREDIT                           )
MANAGEMENT, INC.                         )
                                         )
      Defendants.                        )


                                    COMPLAINT


      This is an action brought by the Plaintiff, Colby Hooper, for actual and

statutory damages, attorney’s fees, and costs for Defendant’s violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”).

                           JURISDICTION AND VENUE

      This Court has jurisdiction under 15 U.S.C. §1692k (d), and 28 U.S.C.

§1331, §1332, and §1367. Venue is proper in that at all relevant times the

Defendant transacted business here, and the Plaintiff resides here.

                         STATEMENT OF THE PARTIES

      1.       Plaintiff, Colby Hooper, is over the age of nineteen (19) years and is

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         a resident of the city of Homewood in Jefferson County, Alabama.

2.       Defendant Midland Funding, LLC (“Midland”) is and at all times

         pertinent herein was, a foreign limited liability company or other legal

         entity organized under the laws of the State of Delaware with its

         principal place of business in San Diego, California. Plaintiff asserts

         that, upon information and belief, Defendant Midland Funding, LLC

         is a debt collector as that term is defined by the Fair Debt Collection

         and Practices Act at 15 U.S.C. §1692(a)(6).

3.       Defendant, Midland Credit Management, Inc. (“MCM” or

         collectively with Midland as “The Defendants”), is a foreign

         corporation incorporated in the State of Delaware. MCM was, in all

         respects and at all times relevant herein, doing business in the state of

         Alabama, and is registered to do business in Alabama with the

         Alabama Secretary of State. Plaintiff asserts that Defendant is

         regularly engaged in the business of collecting consumer debts from

         consumers residing in Jefferson County, Alabama and is a “debt

         collector,” as defined by the FDCPA 15 U.S.C. § 1692a(6). MCM is

         the servicer of accounts for Midland.




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4.       All events herein occurred in Jefferson County, Alabama.

                        STATEMENT OF FACTS

                                Background

5.       On or about May 10, 2017, Defendants filed a lawsuit against

         Plaintiff Colby Hooper in the Small Claims Court of Jefferson

         County, Alabama which was assigned case number 01-SM-2017-

         902861 (hereinafter referred to as “the lawsuit”).

6.       The lawsuit involved a debt allegedly owed by Plaintiff to GE Capital

         Retail Bank, an entity not a party to this lawsuit, as the result of the

         use of a credit card. Defendants filed the lawsuit in an attempt to

         collect an alleged debt.

7.       The alleged debt was incurred for personal or household purposes.

8.       In its complaint Midland represented that GE Capital Retail Bank

         assigned all rights, title and interest in an account allegedly belonging

         to Colby Hooper to Midland and claimed that Mr. Hooper allegedly

         had a balance due on the account of $1,410.00.

9.       Plaintiff has never done business with Defendants and has never

         owed Defendants any money.




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10.   Defendants represented to the Jefferson County Small Claims Court

      that Mr. Hooper had been served with the summons and complaint by

      way of private process server on or about May 26, 2017.

11.   Mr. Hooper was not served with the summons and complaint.

12.   Despite not having served Mr. Hooper, Defendants moved for a

      default judgment against Mr. Hooper on June 29, 2017.

13.   The Defendants’ motion for default judgment was granted on July 3,

      2017.

14.   On April 10, 2019, Defendants filed a process of garnishment in order

      to garnish Plaintiff’s wages in order to satisfy the improper judgment

      against Plaintiff.

15.   The process of garnishment was served on his employer, Dawson

      Family of Faith, also known as Dawson Memorial Baptist Church, on

      April 12, 2019.

16.   It was only after the process of garnishment was served on his

      employer that Plaintiff learned of the Defendants’ lawsuit against

      him.




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17.   Plaintiff, through counsel, moved the Small Claims Court to release

      the garnishment and to set aside the default judgment on the grounds

      that Plaintiff was never served with the summons or complaint.

18.   On May 20, 2019, following a hearing that same day, the Small

      Claims Court released the garnishment and set aside the invalid

      default judgment that was entered against the Plaintiff and ordered

      that the money garnished from him be returned.

19.   Plaintiff then answered the Complaint filed by the Defendants and

      denied all of the allegations made by Defendants in the lawsuit.

20.   Trial was held on Defendants’ alleged claim against Mr. Hooper July

      22, 2019.

21.   Despite bearing the burden of proof, counsel for Midland called no

      witnesses at trial and did not offer a single document into evidence.

      There was no evidence at trial that the alleged debt was assigned to

      Midland, that Midland owned the alleged debt and as such had any

      standing to bring suit against Mr. Hooper or that Mr. Hooper was in

      any way responsible for paying the alleged debt claimed by Midland.

22.   At the trial, due to the lack of any witness and the lack of any

      competent or admissible evidence, counsel for Mr. Hooper moved the

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      Court to enter judgment in favor of Mr. Hooper. As a result, the

      Court did enter judgment in Mr. Hooper’s favor on July 22, 2019.

23.   Each year Defendants file hundreds if not thousands of lawsuits

      against consumers in Alabama without any intention of proving the

      claims it alleges; with the knowledge that it will not present any

      witnesses to testify on its behalf at trial and knowing that it will not

      be able to offer any documents into evidence.

24.   The pattern and practice of Defendants is to file multitudes of

      lawsuits in Alabama, such as the Small Claims lawsuit at issue in this

      case, in an effort to either secure a default against Alabama

      consumers who fail to answer the bogus complaints Midland files or

      to coerce a settlement or consent judgment from consumers at the

      courthouse before trial when Defendant knows it has no witnesses

      and no competent evidence to prove its claims.

25.   The case filed against Mr. Hooper is not an outlier nor was it filed by

      mistake. Rather, as discovery in this case will show, it is merely an

      example of the unfair and intentionally illegal business model that

      Defendants have put into place.




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                      COUNT ONE
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                  15 U.S.C. § 1692 et seq.

  26.   Plaintiff incorporates by reference all of the above paragraphs of this

        Complaint as though fully stated herein.

  27.   The foregoing acts and omissions of Defendants and their employees

        and agents constitute numerous and multiple violations of the

        FDCPA, 15 U.S.C. § 1692 et seq., including, but not limited to, 15

        U.S.C. § 1692d §1692e and §1692f with respect to Plaintiff.

  28.   As a direct and proximate result of the wrongful conduct visited upon

        Plaintiff by Defendants in their collection efforts, Plaintiff suffered

        actual damages including physical pain, mental anguish and

        emotional distress.

  29.   As a result of Defendant’s violations of the FDCPA, Plaintiff is

        entitled to actual damages in an amount to be determined by a struck

        jury pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

        amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

        reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

        1692k(a)(3), from Defendant.




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                            COUNT TWO
                            NEGLIGENCE

30.   Plaintiff adopts the averments and allegations hereinbefore as if fully

      set forth herein.

31.   The Defendants knew or should have known the conduct set forth

      herein which was directed at and visited upon Plaintiff.

32.   The Defendants knew or should have known that said conduct was

      improper.

33.   The Defendants negligently failed to prevent and/or participated in

      improper collection activities.

34.   As a result of The Defendants’ negligence, the Plaintiff suffered

      physical pain, worry, anxiety, nervousness, and mental anguish.

                     COUNT THREE
             RECKLESSNESS AND WANTONNESS
                AGAINST THE DEFENDANTS

35.   The Plaintiff adopts the averments and allegations hereinbefore as if

      fully set forth herein.

36.   The Defendants knew or should have known the conduct set forth

      herein which was directed at and visited upon the Plaintiff.




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      37.    The Defendants knew or should have known that said conduct was

             improper.

      38.    The Defendants recklessly and wantonly failed to prevent and/or

             participated in improper collection activities.

      39.    As a result of the Defendant’s reckless and wanton conduct, the

             Plaintiff suffered physical injury, worry, anxiety, nervousness, and

             mental anguish.

                              COUNT FOUR
                         MALICIOUS PROSECUTION

40.   The Plaintiff adopts the averments and allegations hereinbefore as if
      fully set forth herein.

41.   Defendant Midland Funding, LLC sued the Plaintiff.

42.   Midland Funding, LLC lacked probable cause to file the lawsuit.

43.   Midland Funding, LLC maliciously filed the lawsuit against the Plaintiff.

44.   The lawsuits ended in favor of Colby Hooper and against Midland Funding,

      LLC.

45.   As a result of Midland Funding, LLC’s frivolous lawsuit, Plaintiff was

      harmed.




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                                 COUNT FIVE
                              ABUSE OF PROCESS

46.   The Plaintiff adopts the averments and allegations hereinbefore as if
      fully set forth herein.

47.   Defendant Midland Funding, LLC filed a lawsuit against the Plaintiff

      alleging that it acquired a debt from a third party and represented that it

      owned the alleged debts and that Colby Hooper was indebted to Midland

      Funding, LLC.

48.   Midland Funding, LLC misrepresented to the Small Claims Court that it

      served the summons and complaint upon Colby Hooper when it knew or

      should have known that it did not obtain service.

49.   Midland Funding, LLC garnished Plaintiff’s wages pursuant to a default

      judgment entered against the Plaintiff despite the fact that Plaintiff was not

      served with the summons and complaint.

50.   Defendant Midland Funding, LLC never had any intent to prove any claim

      against the Plaintiff, but rather had an ulterior purpose when it filed the

      lawsuit against the Plaintiff.

51.   The ulterior purpose was to attempt to force Plaintiff into paying Midland

      Funding, LLC or MCM for a debt that Midland and/or MCM either could

      not or refused to establish by any competent evidence or to obtain a default

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      judgment against the Plaintiff without any competent evidence supporting

      Midland’s or MCM’s claims.

52.   Defendants were aware, at the time the lawsuit was filed, that they bore the

      burden of proof but despite that, they would never attempt to prove the

      claims alleged in the lawsuit and would never bring witnesses to Court or

      admit competent evidence in support of its claims.

53.   Defendants were aware that this conduct would harm the Plaintiff either by

      forcing him to pay a debt that Defendants knew they would not or could not

      prove or, alternatively, by obtaining a default judgment against Colby

      Hooper on a debt Defendants knew it would not or could not prove in a

      court of law and would proceed with garnishing his wages.

54.   This conduct by Defendants is all too common in Alabama state courts and

      constitutes a widespread pattern and practice against Alabama consumers,

      such as Colby Hooper.

                                    DAMAGES

      Plaintiff alleges that as a direct and proximate result of the Defendants’ acts

alleged herein, Plaintiff was caused to incur physical pain as well as mental and

emotional suffering and incurred other actual damages.




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      WHEREFORE, PREMISES CONSIDERED, Plaintiff claims damages

of the Defendant in statutory, compensatory and punitive damages, plus interest,

costs, reasonable attorney’s fees and any such other and further relief as this court

deems proper and/or necessary.

      In addition to the above, Plaintiff further demands declaratory judgment that

Defendants’ conduct violated the FDCPA, actual damages in an amount to be

determined by a struck jury pursuant to 15 U.S.C. § 1692k(a)(1), statutory

damages in the amount of $1,000.00 for the violations of the FDCPA pursuant to

15 U.S.C. § 1692k and costs and reasonable attorney’s fees for the violations of

the FDCPA pursuant to 15 U.S.C. § 1692k.

           PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY.


                                              /s/ W. Whitney Seals
                                              W. WHITNEY SEALS,
                                              Attorney for Plaintiff

OF COUNSEL:

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PLAINTIFF’S ADDRESS:
Colby Hooper
707B Raleigh Court
Homewood, AL 35209

PLEASE SERVE THE DEFENDANTS BY CERTIFIED MAIL, RETURN
RECEIPT REQUESTED TO THE FOLLOWING ADDRESSES:

MIDLAND FUNDING, LLC
c/o Registered Agent
Corporation Service Company, Inc.
641 South Lawrence Street
Montgomery, AL 36104

MIDLAND CREDIT MANAGEMENT, INC.
c/o Registered Agent
Corporation Service Company, Inc.
641 South Lawrence Street
Montgomery, AL 36104




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